              Case 19-61608-grs Doc 295-1 Filed 02/28/20 Entered 02/28/20 12:31:53 Desc
                   All Debtors Creditor Matrixes and the Master Mailing Matrix Page 1 of 29
Baxter Regional Medical Center           Healthland CPSI                            Beckman
c/o Ron Peterson, President & CEO        c/o Troy Dolly                             c/o Raymond Wendolowski,
624 Hospital Drive                       6600 Wall Street                           Bernstein Burkley
Mountain Home, AR 72653                  Mobile, AL 36695                           707 Grant St., Suite 2200, Gulf Tower
                                                                                    Pittsburgh, PA 15219

Midwest Emergency Dept. Services, Inc.   AHN Emergency Group of Ellwood, LTD        Jones Day
c/o Kevin Meder                          c/o Kevin Allen, Michael Pest Exkert       c/o Chris Anderson
600 Washington Avenue, Suite 1800        Seanmans Cherin & Mellott, LLC             77 West Wacker Drive
Saint Louis, MO 63101                    600 Grant Street, 44th Floor               Chicago, IL 60601
                                         Pittsburgh, PA 15210

Horizon Mental Health                    Western Healthcare                         Dinakar Golla
c/o Michael W. Winfield, Post & Schell   c/o Jacob Norvell                          c/o Avrum Levicoff, The Levicoff Law
17 North Second Street                   13155 Noel Rd.                             Firm
12th Floor                               Suite 200                                  4 PPG Pl., Suite 200
Harrisburg, PA 17107                     Dallas, TX 75240                           Pittsburgh, PA 15222

Philips Healthcare                       Jones Day                                  Johnson & Johnson Healthcare Sys.
c/o Robert Kennedy                       c/o Chris Anderson                         5972 Collections Ctr. Dr.
P.O. Box 403831                          77 West Wacker Drive                       Chicago, IL 60693
Atlanta, GA 30301                        Chicago, IL 60601


Aya Healthcare Inc.                      Specialists in Anesthesia PC               Bard C.R. Inc.
c/o Shannon Steely                       c/o Dr. Brad Bernstein                     c/o Napoleon Ramos
P.O. Box 123519, Dept 3519               500 S. Meramec Drive                       P.O. Box 75767
Dallas, TX 75312                         Saint Louis, MO 63105                      Charlotte, NC 28275


McKesson Medical Surgical                Palamerican Security, Inc.                 Faultless
c/o Marlena Waldrum                      c/o Roger Rees                             c/o Terry Mason
12755 Highway 55, Suite R200             8th Avenue North                           2030 S. Broadway
Minneapolis, MN 55441                    Suite 203                                  Saint Louis, MO 63104
                                         St. Petersburg, FL 33704

Nurses PRN                               Central Tox LLC                            White River Planning and Development
1101 E. South River Street               525 Round Rock W. Cr.                      c/o Regan Miller
Appleton, WI 54915                       Round Rock, TX 78681                       PO Box 2396
                                                                                    Rowlett, TX 75030


Correct Care, Inc.                       Medline Industries                         Ortho Clinical Diagnostics
c/o Nancy Scearce                        c/o Michael S. Baim, The CKB Firm          P.O. Box 3655
229 Saint John Ln                        30 N. Lasalle St.                          Carol Stream, IL 60132
Covington, LA 70433                      Suite 1520
                                         Chicago, IL 60602

Missouri Dep’t of Higher Education and   Baxter Regional Medical Center-Lab         The Talbot Group, LLC
Workforce Develop.                       Cultures                                   c/o Donna Talbot
c/o Jaron D. Vail, MFA                   c/o Ron Peterson, President & CEO          11741 W. Romin Rd
301 W. High Street                       624 Hospital Drive                         Post Falls, ID 83854
Jefferson City, MO 65102                 Mountain Home, AR 72653

Western Healthcare                       The Third Friday Total Return Fund, L.P.   Pelorus Fund, LLC
c/o Scott Webb                           c/o Michael E. Lewitt                      c/o Pelorus Equity Group, Inc.
13155 Noel Rd., Suite 200                85 N. Congress Avenue                      124 Tustin Avenue, Suite 200
Dallas, TX 75240                         Delray Beach, FL 33445                     Newport Beach, CA 92663
              Case 19-61608-grs Doc 295-1 Filed 02/28/20 Entered 02/28/20 12:31:53 Desc
                   All Debtors Creditor Matrixes and the Master Mailing Matrix Page 2 of 29
Pelorus Fund, LLC                          Penn Med LLC                              Toby Mug Financing, LLC
c/o Bibin Mannattuparampil Geraci LLP      c/o Jeffery P. Meyers, Myers Law Group    c/o Roger Herman, Rosenblum Boldenhersh
90 Discovery                               LLC                                       7733 Forsyth Blvd., Suite 400
Irvine, CA 92618                           17025 Perry Highway                       St. Louis, MO 63105
                                           Warrendale, PA 15086

Dell Financial Services LLC                Air Liquide Healthcare America Corp.      App Group International, LLC
One Dell Way                               c/o Capital Services, Inc.                85 Broad Street, 75th Floor
Mail Stop – PS2DF-23                       1675 S. State Street, Suite B             New York, NY 10004
Round Rock, TX 78682                       Dover, DE 19901


Corporation Services Company               CT Corporation Systems                    BQR Capital, LLC
P.O. Box 2576                              Attn: SPRS                                c/o Pelorus Equity Group, Inc.
Springfield, IL 62708                      330 N. Brand Blvd., Suite 700             124 Tustin Avenue, Suite 200
                                           Glendale, CA 91203                        Newport Beach, CA 92663


Gibbs Technology Leasing – HG1, LLC        HOP Capital                               EIN CAP, Inc.
3236 West Edgewood Road, Suite A           323 Sunny Island Blvd. #501               160 Pearl Street, Floor 5
Jefferson City, Missouri 65109             Sunny Isles Beach, Florida 33160          New York, NY 10005



HMFCG Inc.                                 Med One Capital Funding, LLC              Republic Bank
368 New Hemstead Rd.                       10712 South 1300 East                     1560 So. Renaissance Towne Dr.
New City, NY 10956                         Sandy, UT 84094                           Suite 260
                                                                                     Bountiful, UT 84010


Titan Loan Servicing, LLC                  Smart Business                            Koven Omens Trust Dated June 26, 2015
c/o Pelorus Equity Group, Inc.             561 Northeast 79th Street                 c/o Pelorus Equity Group, Inc.
124 Tustin Avenue, Suite 200               Miami, FL 33138                           124 Tustin Avenue Suite 200
Newport Beach, CA 92663                                                              Newport Beach, CA 92663


The McNee Family Trust Dated 1/17/08       Trust of R. and G. Glitz Dated 12/11/07   Leyda Bequer, Trustee of Bequer Trust
c/o Pelorus Equity Group, Inc.             c/o Pelorus Equity Group, Inc.            23461 S. Pointe Drive, Suite 215
124 Tustin Avenue, Suite 200               124 Tustin Avenue, Suite 200              Laguna Hills, CA 92653
Newport Beach, CA 92663                    Newport Beach, CA 92663


Bradley M. Nerderman                       Americore Holdings, LLC and its           Internal Revenue Service
Office of the United States Trustee        Subsidiaries                              P.O Box 7346
100 E. Vine St., Suite 500                 3933 S. Broadway                          Philadelphia, PA 19101
Lexington, KY 40507                        Saint Louis, MO 63118


U.S. Attorney’s Office                     Missouri Department of Revenue            Arkansas Department of Finance and
Eastern District of Kentucky               Bankruptcy Unit                           Administration
260 W. Vine St., Suite 400                 P.O. Box 475                              1509 W 7th St.
Lexington, KY 40507                        301 West High Street                      Little Rock, AR 72201
                                           Jefferson City, MO 65105

Pennsylvania Department of Revenue         Kentucky Department of Revenue            Sysco
c/o Pennsylvania Attorney General, Nancy   Legal Branch – Bankruptcy Section         850 Mueller Rd
Walker                                     P.O. Box 5222                             Saint Charles, MO 63301
Strawberry Square                          Frankfort, KY 40602
Harrisburg, PA 17120
             Case 19-61608-grs Doc 295-1 Filed 02/28/20 Entered 02/28/20 12:31:53 Desc
                  All Debtors Creditor Matrixes and the Master Mailing Matrix Page 3 of 29
Calico Rock Med, LLC
c/o Darren Gibbs
Law Offices of Darren A. Gibbs, PLLC
3729 N. Crossover Road, Suite 111
Fayetteville, AR 72703
                 Case 19-61608-grs            Doc 295-1        Filed 02/28/20         Entered 02/28/20 12:31:53                 Desc
Label Matrix for local noticing               Internal Revenue
                         All Debtors Creditor Matrixes    and Service
                                                                the Master Mailing Matrix Pineville
                                                                                            Page 4Medical
                                                                                                      of 29Center, LLC
0643-6                                        P.O. Box 7346                               3933 S Broadway
Case 19-61605-grs                             Philadelphia, PA 19101-7346                 St Louis, MO 63118-4601
Eastern District of Kentucky
London
Fri Feb 28 09:56:52 EST 2020
Securities and Exchange Commn.                London Office                               ARGUS CAPITAL FUNDING LLC
Bankruptcy Section                            US Bankruptcy Court                         C/O THOMSON OLLUNGA LLP
175 W. Jackson Blvd.                          PO Box 1111                                 747 THIRD AVENUE 2ND FLOOR
Suite 900                                     Lexington, KY 40588-1111                    NEW YORK NY 10017-2878
Chicago, IL 60604-2815

CARDINAL HEALTH                                      DANIEL JONES                                         GRANT R. WHITE
7000 CARDINAL PLACE                                  C/O MELISSA R. DIXON                                 6857 CREST ROAD
DUBLIN OH 43017-1091                                 GAMBREL AND WILDER LAW OFFICES PLLC                  RANCHO PALOS VERDES CA 90275-4554
                                                     1222 NORTH MAIN STREET
                                                     LONDON KY 40741-1010

J. CLAIR EDWARDS, TRUSTEE                            JONES DAY                                            KENTUCKY DEPARTMENT OF REVENUE
P.O. BOX 1779                                        C/O CHRIS ANDERSON                                   LEGAL SUPPORT BRANCH
SOMERSET KY 42502-1779                               77 WEST WACKER DRIVE                                 P.O. BOX 5222
                                                     CHICAGO IL 60601-1692                                FRANKFORT, KY 40602-5222


MARY L. FULLINGTON                                   PAULA DOWNEY                                         SCOTT A. ZUBER
C/O WYATT, TARRANT & COMBS, LLP                      C/O MELISSA R. DIXON                                 C/O CHIESA SHAHINIAN & GIANTOMASI PC
250 WEST MAIN STREET, SUITE 1600                     GAMBREL AND WILDER LAW OFFICES PLLC                  ONE BOLAND DRIVE
LEXINGTON KY 40507-1726                              1222 NORTH MAIN STREET                               WEST ORANGE NJ 07052-3686
                                                     LONDON KY 40741-1010

TERRI JANE FREEDMAN                                  THE THIRD FRIDAY TOTAL RETURN FUND, L.P.             U.S. Trustee
C/O CHIESA SHAHINIAN & GIANTOMASI PC                 C/O MICHAEL E. LEWITT                                100 E Vine St #500
ONE BOLAND DRIVE                                     85 N. CONGRESS AVENUE                                Lexington, KY 40507-1441
WEST ORANGE NJ 07052-3686                            DELRAY BEACH FL 33445-3424


UNITEDHEALTHCARE INSURANCE COMPANY                   Carol L. Fox                                         Daniel Glenn Jones
ATTN: CDM/BANKRUPTCY                                 200 East Broward Blvd #1010                          1672 N. Ky 830
185 ASYLUM STREET - 03B                              Fort Lauderdale, FL 33301-1943                       Corbin, KY 40701-6134
HARTFORD, CT 06103-3408


Paula Jones                                          Suzanne Koenig
P O Box 813                                          SAK Management Services, LLC
Pineville, KY 40977-0813                             300 Saunders Rd
                                                     Suite 300
                                                     Riverwoods, IL 60015-5708




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Cardinal Health 110, LLC                          (u)Cardinal Health 200, LLC                          End of Label Matrix
                                                                                                          Mailable recipients     22
                                                                                                          Bypassed recipients      2
                                                                                                          Total                   24
                 Case 19-61608-grs        Doc 295-1       Filed 02/28/20         Entered 02/28/20 12:31:53         Desc
Label Matrix for local noticing               Americore Health
                         All Debtors Creditor Matrixes    and Enterprises,
                                                                the Master LLCMailing Matrix Internal
                                                                                               Page Revenue
                                                                                                       5 of 29Service
0643-6                                        3933 S Broadway                                P.O. Box 7346
Case 19-61606-grs                             St Louis, MO 63118-4601                        Philadelphia, PA 19101-7346
Eastern District of Kentucky
London
Fri Feb 28 10:02:23 EST 2020
Securities and Exchange Commn.                London Office                                  AMY JACKSON-BOLLINGER
Bankruptcy Section                            US Bankruptcy Court                            C/O RONALD E. JOHNSON JR., SARAH N. EMER
175 W. Jackson Blvd.                          PO Box 1111                                    HENDY JOHNSON VAUGH EMERGY, PSC
Suite 900                                     Lexington, KY 40588-1111                       909 WRIGHT’S SUMMIT PARKWAY, #
Chicago, IL 60604-2815                                                                       COVINGTON KY 41011-2783

APP GROUP INTERNATIONAL LLC                     APP GROUP INTERNATIONAL, LLC                    EYS CASH, LLC
C/O JASON GANG ESQ                              85 BROAD STREET, 75TH FLOOR                     1130 BEDFORD AVENUE
1245 HEWLETT PLAZA #478                         NEW YORK NY 10004-2783                          NORTH MIAMI BEACH FL 33160
HEWLETT NY 11557-4021


GRANT R. WHITE                                  HOP CAPITAL                                     HOP CAPITAL
6857 CREST ROAD                                 323 SUNNY ISLAND BLVD.                          323 SUNNY ISLAND BLVD.
RANCHO PALOS VERDES CA 90275-4554               #501                                            #501
                                                NEW YORK NY 10004                               SUNNY ISLES BEACH FL 33160-4675


JONES DAY                                       MCMASTER-CARR                                   MELISSA NORTH
C/O CHRIS ANDERSON                              200 AURORA INDUSTRIAL PKWY                      C/O RONALD JOHNSON, JR., SARAH EMERY
77 WEST WACKER DRIVE                            AURORA OH 44202-8090                            EMERY HENDY JOHNSON VAUGHN EMERY, PSC
CHICAGO IL 60601-1692                                                                           909 WRIGHT’S SUMMIT PARKWAY, #
                                                                                                COVINGTON KY 41011-2783

PAMELA JOHNSON                                  THE SOS GROUP                                   THE THIRD FRIDAY TOTAL RETURN FUND, L.P.
C/O RONALD JOHNSON, JR., SARAH EMERY            29605 CLEMENS RD STE 200                        C/O MICHAEL E. LEWITT
EMERY HENDY JOHNSON VAUGH EMERY, PSC            WESTLAKE OH 44145                               85 N. CONGRESS AVENUE
909 WRIGHT’S SUMMIT PARKWAY, #                                                                  DELRAY BEACH FL 33445-3424
COVINGTON KY 41011-2783

U.S. Trustee                                    Carol L. Fox                                    Suzanne Koenig
100 E Vine St #500                              200 East Broward Blvd #1010                     SAK Management Services, LLC
Lexington, KY 40507-1441                        Fort Lauderdale, FL 33301-1943                  300 Saunders Rd
                                                                                                Suite 300
                                                                                                Riverwoods, IL 60015-5708

End of Label Matrix
Mailable recipients     20
Bypassed recipients      0
Total                   20
                 Case 19-61608-grs       Doc 295-1      Filed 02/28/20           Entered 02/28/20 12:31:53       Desc
Label Matrix for local noticing               Americore Health,
                         All Debtors Creditor Matrixes          LLC Master Mailing Matrix Internal
                                                          and the                           Page Revenue
                                                                                                    6 of 29Service
0643-6                                        3933 S Broadway                             P.O. Box 7346
Case 19-61607-grs                             St Louis, MO 63118-4601                     Philadelphia, PA 19101-7346
Eastern District of Kentucky
London
Fri Feb 28 10:04:20 EST 2020
Securities and Exchange Commn.                London Office                               AGILITI HEALTH INC
Bankruptcy Section                            US Bankruptcy Court                         C/O JONI EVERMAN
175 W. Jackson Blvd.                          PO Box 1111                                 6625 W 78TH ST STE 300
Suite 900                                     Lexington, KY 40588-1111                    BLOOMINGTON MN 55439-2650
Chicago, IL 60604-2815

ALAN W. GERMANY                               AMY JACKSON-BOLLINGER                           AMY JACKSON-BOLLINGER
2386 NORTH SUN LAKE PLACE                     C/O RONALD E. JOHNSON JR., SARAH N. EMER        C/O RONALD JOHNSON JR., SARAH EMERY
TUCSON AZ 85749-8707                          HENDY JOHNSON VAUGH EMERGY, PSC                 HENDY JOHNSON VAUGH EMERGY, PSC
                                              909 WRIGHT’S SUMMIT PARKWAY, #                  909 WRIGHT’S SUMMIT PARKWAY, #
                                              COVINGTON KY 41011-2783                         COVINGTON KY 41011-2783

APP GROUP INTERNATIONAL LLC                   APP GROUP INTERNATIONAL, LLC                    ARGUS CAPITAL FUNDING LLC
C/O JASON GANG ESQ                            85 BROAD STREET, 75TH FLOOR                     C/O THOMSON OLLUNGA LLP
1245 HEWLETT PLAZA #478                       NEW YORK NY 10004-2783                          747 THIRD AVE 2ND FL
HEWLETT NY 11557-4021                                                                         NEW YORK NY 10017-2878


AZZAM MEDICAL SERVICES, LLC                   AZZAM MEDICAL SERVICES, LLC                     BANKDRAFT CAPITAL FINANCE
C/O JESSE O. WEATHERLY                        C/O JESSE O. WEATHERLY                          150 N FIELD DR STE 190
101 1ST AVENUE NE, SUITE 150                  657 CHAMBERLIN AVENUE                           LAKE FOREST IL 60045-2594
CULLMAN AL 35055-2995                         CULLMAN AL 35055


BAXTER HEALTHCARE                             COMMONWEALTH OF PENNSYLVANIA                    CORNERSTONE ADVISORS GROUP, LLC
1 BAXTER PKWY DF3-2E                          C/O NANCY A. WALKER                             C/O KEITH T. RYAN
DEERFIELD IL 60015-4633                       CHIEF DEPUTY ATTORNEY GENERAL                   20 THUNDER LAKE ROAD
                                              1600 ARCH STREET, SUITE 300                     WILTON CT 06897-1331
                                              PHILADELPHIA PA 19103-2016

CORPORATION SERVICES COMPANY                  CT CORPORATION SYSTEMS                          CT CORPORATION SYSTEMS
P.O. BOX 2576                                 ATTN: SPRS                                      ATTN: SPRS
SPRINGFIELD IL 62708-2576                     330 N. BRAND BLVD., SUITE 700                   330 N. GRAND BLVD., SUITE 700
                                              GLENDALE CA 91203-2336                          GLENDALE CA 91203


DANIEL JONES                                  DIVERSE MEDICAL MANAGEMENT, INC.                EIN CAP, INC.
C/O MELISSA R. DIXON                          C/O MICHAEL FREY                                160 PEARL STREET, FLOOR 5
GAMBREL AND WILDER LAW OFFICES PLLC           82 BRECKRIDGE ROAD                              NEW YORK NY 10005-1631
1222 NORTH MAIN STREET                        MCMINNVILLE TN 37110-5006
LONDON KY 40741-1010

EYS CASH, LLC                                 FISHER SCIENTIFIC COMPANY                       GRANT R. WHITE
1130 BEDFORD AVENUE                           711 FORBES AVENUE                               6857 CREST ROAD
NORTH MIAMI BEACH FL 33160                    PITTSBURGH PA 15219                             RANCHO PALOS VERDES CA 90275-4554



HOP CAPITAL                                   HOP CAPITAL                                     JERRY WOLLUM, M.C., P.S.C.
323 SUNNY ISLAND BLVD.                        323 SUNNY ISLAND BLVD.                          C/O CHRISTOPHER DOUGLAS
#501                                          #501                                            DOUGLAS LAW OFFICE
NEW YORK NY 10004                             SUNNY ISLES BEACH FL 33160-4675                 P.O. BOX 158
                                                                                              PINEVILLE KY 40977-0158
                 Case 19-61608-grs Doc 295-1 Filed 02/28/20 Entered 02/28/20 12:31:53 Desc
JONES DAY                                  KENTUCKY DEPARTMENT
                      All Debtors Creditor Matrixes    and the OF Master
                                                                  LABOR  Mailing Matrix LIFE INSURANCE
                                                                                          Page    7 of COMPANY
                                                                                                        29 OF NORTH AMERICA
C/O CHRIS ANDERSON                            657 CHAMBERLIN AVENUE                       ATTN MARYLOU RICE
77 WEST WACKER DRIVE                          FRANKFORT KY 40601-4220                     900 COTTAGE GROVE RD B6LPA
CHICAGO IL 60601-1692                                                                     HARTFORD CT 06152-0001


MELISSA NORTH                                 MOSC ENTERPRISES, LLC                       PAMELA JOHNSON
C/O RONALD JOHNSON, JR., SARAH EMERY          73 N. MAPLE AVENUE                          C/O RONALD JOHNSON, JR., SARAH EMERY
EMERY HENDY JOHNSON VAUGHN EMERY, PSC         TOMS RIVER NJ 08753                         EMERY HENDY JOHNSON VAUGH EMERY, PSC
909 WRIGHT’S SUMMIT PARKWAY, #                                                            909 WRIGHT’S SUMMIT PARKWAY, #
COVINGTON KY 41011-2783                                                                   COVINGTON KY 41011-2783

PAULA DOWNEY                                  PENN MED LLC                                SMA MEDICAL INC
C/O MELISSA R. DIXON                          C/O JEFFERY P. MEYERS                       C/O STARK & STARK
GAMBREL AND WILDER LAW OFFICES PLLC           MYERS LAW GROUP LLC                         ATT J. LEMKIN
1222 NORTH MAIN STREET                        17025 PERRY HIGHWAY                         PO BOX 5315
LONDON KY 40741-1010                          WARRENDALE PA 15086-7547                    PRINCETON, NJ 08543-5315

SMART BUSINESS                                THE THIRD FRIDAY TOTAL RETURN FUND, L.P.    U.S. Trustee
561 NORTHEAST 79TH STREET                     C/O MICHAEL E. LEWITT                       100 E Vine St #500
MIAMI FL 33138-4593                           85 N. CONGRESS AVENUE                       Lexington, KY 40507-1441
                                              DELRAY BEACH FL 33445-3424


UNITEDHEALTHCARE INSURANCE COMPANY            WESSEX MANAGEMENT LLC                       Carol L. Fox
ATTN CDM/BANKRUPTCY                           2107 ST. GEORGES AVENUE                     200 East Broward Blvd #1010
185 ASYLUM STREET - 03B                       RAHWAY NJ 07065-2052                        Fort Lauderdale, FL 33301-1943
HARTFORD CT 06103-3408


Daniel Glenn Jones                            Paula Downey                                Suzanne Koenig
1672 N. Ky 830                                P O Box 813                                 SAK Management Services, LLC
Corbin, KY 40701-6134                         Pineville, KY 40977-0813                    300 Saunders Rd
                                                                                          Suite 300
                                                                                          Riverwoods, IL 60015-5708

End of Label Matrix
Mailable recipients     47
Bypassed recipients      0
Total                   47
                 Case 19-61608-grs          Doc 295-1     Filed 02/28/20         Entered 02/28/20 12:31:53          Desc
Label Matrix for local noticing               Americore Health
                         All Debtors Creditor Matrixes    and Enterprises,
                                                                the Master  LLCMailing Matrix Americore
                                                                                                Page 8Health,
                                                                                                          of 29LLC
0643-6                                        3933 S Broadway                                 3933 S Broadway
Case 19-61608-grs                             St Louis, MO 63118-4601                         St Louis, MO 63118-4601
Eastern District of Kentucky
London
Fri Feb 28 09:58:00 EST 2020
Americore Holdings, LLC                       BankDirect Capital Finance, LLC                 Calico Rock Med, LLC
3933 S Broadway                               21 N. LaSalle St. STE 3700                      c/o Gess Mattingly & Atchison, P.S.C.
St Louis, MO 63118-4601                       Chicago, il 60602                               201 West Short Street
                                                                                              Ste. 102
                                                                                              Lexington, KY 40507-1231

Commonwealth of Pennsylvania                    Ellwood Medical Center Operations, LLC           Ellwood Medical Center Real Estate, LLC
PA Office of Attorney General                   724 Pershing Street                              724 Pershing Street
15th Floor Strawberry Square                    Ellwood City, PA 16117-1474                      Ellwood City, PA 16117-1474
Harrisburg, PA 17120-0001


Ellwood Medical Center, LLC                     Internal Revenue Service                         Izard County Medical Center, LLC
724 Pershing Street                             P.O. Box 7346                                    61 Grasse Street
Ellwood City, PA 16117-1474                     Philadelphia, PA 19101-7346                      Calico Rock, AR 72519-7013



Penn Med, LLC                                   Pension Benefit Guaranty Corporation             Pineville Medical Center, LLC
c/o Gess Mattingly & Atchison, P.S.C.           Office of the General Counsel                    3933 S Broadway
201 West Short Street                           1200 K Street, N.W.                              St Louis, MO 63118-4601
Ste. 102                                        Washington, DC 20005-4026
Lexington, KY 40507-1231

Securities and Exchange Commn.                  St. Alexius Hospital Corporation #1              St. Alexius Properties, LLC
Bankruptcy Section                              3933 S Broadway                                  3933 S Broadway
175 W. Jackson Blvd.                            St Louis, MO 63118-4601                          St Louis, MO 63118-4601
Suite 900
Chicago, IL 60604-2815

Success Healthcare 2, LLC                       The Borough of Ellwood City, Pennsylvania        Toby Mug Financing, LLC
3933 S Broadway                                 423 6th Street                                   c/o Fowler Bell PLLC
St Louis, MO 63118-4601                         Ellwood, PA 16117-2055                           300 W. Vine Street, Ste 600
                                                                                                 Lexington, KY 40507-1751


London Office                                   12430 OXFORD PARK DR APT 721                     AMEREN MISSOURI
US Bankruptcy Court                             1640 W. REDSTONE CENTER DRIVE, SUITE 200         BANKRUPTCY DECK MC 310
PO Box 1111                                     12430 OXFORD PARK DR APT 721                     PO BOX 66881
Lexington, KY 40588-1111                        PARK CITY, UT 84098                              ST LOUIS MO 63166-6881


ARKANSAS DEPARTMENT OF FINANCE AND ADMIN.       BQR CAPITAL, LLC                                 CORPORATION SERVICES COMPANY
LEGAL COUNSEL ROOM 2380                         C/O PELORUS EQUITY GROUP, INC.                   P.O. BOX 2576
P O BOX 1272                                    124 TUSTIN AVENUE, SUITE 200                     SPRINGFIELD IL 62708-2576
LITTLE ROCK, AR 72203-1272                      NEWPORT BEACH CA 92663-4782


CT CORPORATION SYSTEMS                          EULER HERMES N.A AS AGENT FOR COMPUTER PROGR     GRANT R. WHITE
ATTN: SPRS                                      800 RED BROOK BLVD, #400C                        6857 CREST ROAD
330 N. BRAND BLVD., SUITE 700                   OWINGS MILLS, MD 21117-5173                      RANCHO PALOS VERDES CA 90275-4554
GLENDALE CA 91203-2336
                 Case 19-61608-grs            Doc 295-1        Filed 02/28/20         Entered 02/28/20 12:31:53              Desc
HUSCH BLACKWELL LLP                           IMPACT HEALTHCARE
                         All Debtors Creditor Matrixes          MANAGEMENT,
                                                          and the    Master LLCMailing Matrix JONES
                                                                                                PageDAY 9 of 29
33 EAST MAIN STREET, SUITE 300                C/O PAUL NORMAN RECHENBERG                      C/O CHRIS ANDERSON
P.O. BOX 1379                                 215 CHESETERFIELD BUSINESS PARKWAY              77 WEST WACKER DRIVE
MADISON, WI 53701-1379                        CHESTERFIELD MO 63005-1207                      CHICAGO IL 60601-1692


KOVEN OMENS TRUST DATED 1/17/08                      KOVEN OMENS TRUST DATED JUNE 26, 2015                PELORUS FUND, LLC
C/O PELORUS EQUITY GROUP, INC.                       C/O PELORUS EQUITY GROUP, INC.                       C/O BIBIN MANNATTUPARAMPIL
124 TUSTIN AVENUE, SUITE 200                         124 TUSTIN AVENUE                                    GERACI LLP
NEWPORT BEACH CA 92663-4782                          SUITE 200                                            90 DISCOVERY
                                                     NEWPORT BEACH CA 92663-4782                          IRVINE CA 92618-3105

PELORUS FUND, LLC                                    PROMISE HEALTHCARE GROUP LLC                         PROMISE HEALTHCARE GROUP, LLC
C/O PELORUS EQUITY GROUP, INC.                       C/O RICHARD ENGEL                                    C/O STUART BROWN
124 TUSTIN AVENUE, SUITE 200                         7700 FORSYTH BLVD., SUITE 1800                       DLA PIPER
NEWPORT BEACH CA 92663-4782                          SAINT LOUIS MO 63105-1807                            1201 N. MARKET STREET, SUITE 2100
                                                                                                          WILMINGTON DE 19801-1165

SMART BUSINESS                                       THE MCNEE FAMILY TRUST DATED 1/17/08                 THE THIRD FRIDAY TOTAL RETURN FUND, L.P.
561 NORTHEST 79TH STREET                             C/O PELORUS EQUITY GROUP, INC.                       C/O MICHAEL E. LEWITT
MIAMI FL 33138                                       124 TUSTIN AVENUE, SUITE 200                         85 N. CONGRESS AVENUE
                                                     NEWPORT BEACH CA 92663-4782                          DELRAY BEACH FL 33445-3424


TITAN LOAN SERVICING, LLC                            TRUST OF R. AND G. GLITZ DATED 12/11/07              U.S. Trustee
C/O PELORUS EQUITY GROUP, INC.                       C/O PELORUS EQUITY GROUP, INC.                       100 E Vine St #500
124 TUSTIN AVENUE, SUITE 200                         124 TUSTIN AVENUE, SUITE 200                         Lexington, KY 40507-1441
NEWPORT BEACH CA 92663-4782                          NEWPORT BEACH CA 92663-4782


(p)UTICA LEASECO LLC                                 VERIZON BUSINESS GLOBAL LLC                          Carol L. Fox
905 SOUTH BLVD EAST                                  WILLIAM M VERMETTE                                   200 East Broward Blvd #1010
ROCHESTER HILLS MI 48307-5358                        22001 LOUDOUN COUNTY PKWY                            Fort Lauderdale, FL 33301-1943
                                                     ASHBURN, VA 20147-6105


Jennifer Winkler                                     Suzanne Koenig
c/o R. Aaron Hostettler                              SAK Management Services, LLC
120 N. Main St.                                      300 Saunders Rd
London, KY 40741-1369                                Suite 300
                                                     Riverwoods, IL 60015-5708



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


UTICA LEASECO, LLC
905 SOUTH BOULEVARD EAST
ROCHESTER HILLS, MI 48307




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                   Case 19-61608-grs           Doc 295-1     Filed 02/28/20         Entered 02/28/20 12:31:53        Desc
(u)Abbott Diagnostics Division of AbbottCreditor
                        All Debtors     Labo      (u)Cardinaland
                                                 Matrixes     Healththe
                                                                      110,Master
                                                                           LLC   Mailing Matrix (u)Cardinal
                                                                                                 Page 10Health
                                                                                                            of 29200, LLC




(u)Cigna Health and Life Insurance Company         (u)DaVita HealthCare Partners Inc.            (u)DaVita Inc.




(u)Official Committee of Unsecured Creditors       (u)Pelorus Equity Group, Inc.                 (u)Secretary of Labor, United States Departme




(u)Third Friday Total Return Fund, LP              (u)Universal Health Services                  (u)Utica Leaseco, LLC




(d)PENN MED, LLC                                   (u)Amy Jackson-Bolinger                       (u)Grant White
C/O GESS MATTINGLY & ATCHISON, P.S.C.
201 WEST SHORT STREET, STE. 102
LEXINGTON, KY 40507-1231


(u)Melissa North                                   (u)Michael Lewitt                             (u)Pamela Johnson




End of Label Matrix
Mailable recipients   49
Bypassed recipients   18
Total                 67
                 Case 19-61608-grs        Doc 295-1     Filed 02/28/20            Entered 02/28/20 12:31:53       Desc
Label Matrix for local noticing               Internal Revenue
                        All Debtors Creditor Matrixes          Service
                                                         and the    Master Mailing Matrix Securities
                                                                                           Page 11andofExchange
                                                                                                          29 Commn.
0643-6                                        P.O. Box 7346                               Bankruptcy Section
Case 19-61609-grs                             Philadelphia, PA 19101-7346                 175 W. Jackson Blvd.
Eastern District of Kentucky                                                              Suite 900
London                                                                                    Chicago, IL 60604-2815
Fri Feb 28 10:04:50 EST 2020
Success Healthcare 2, LLC                     Toby Mug Financing, LLC                     London Office
3933 S Broadway                               c/o Fowler Bell PLLC                        US Bankruptcy Court
St Louis, MO 63118-4601                       300 W. Vine Street, Ste 600                 PO Box 1111
                                              Lexington, KY 40507-1751                    Lexington, KY 40588-1111


BQR CAPITAL, LLC                              GRANT R. WHITE                                   KOVEN OMENS TRUST DATED JANUARY 17, 2008
C/O PELORUS EQUITY GROUP, INC.                6857 CREST ROAD                                  C/O PELORUS EQUITY GROUP, INC.
124 TUSTIN AVENUE, SUITE 200                  RANCHO PALOS VERDES CA 90275-4554                124 TUSTIN AVENUE, SUITE 200
NEWPORT BEACH CA 92663-4782                                                                    NEWPORT BEACH CA 92663-4782


KOVEN OMENS TRUST DATED JUNE 26, 2015         MELODIE BRUMBACK, ASSISTANT BUREAU CHIEF         PELORUS FUND, LLC
C/O PELORUS EQUITY GROUP, INC.                DEPT’T OF HEALTH AND SENIOR SERVICE              C/O BIBIN MANNATTUPARAMPIL
124 TUSTIN AVENUE                             BUREAU OF HOSPITAL STANDARDS                     GERACI LLP
SUITE 200                                     PO BOX 570, 920 WILDWOOD                         90 DISCOVERY
NEWPORT BEACH CA 92663-4782                   JEFFERSON CITY MO 65102-0570                     IRVINE CA 92618-3105

PELORUS FUND, LLC                             THE MCNEE FAMILY TRUST DATED 1/17/08             THE THIRD FRIDAY TOTAL RETURN FUND, L.P.
C/O PELORUS EQUITY GROUP, INC.                C/O PELORUS EQUITY GROUP, INC.                   C/O MICHAEL E. LEWITT
124 TUSTIN AVENUE, SUITE 200                  124 TUSTIN AVENUE, SUITE 200                     85 N. CONGRESS AVENUE
NEWPORT BEACH CA 92663-4782                   NEWPORT BEACH CA 92663-4782                      DELRAY BEACH FL 33445-3424


TRUST OF R. AND G. GLITZ DATED 12/11/07       U.S. Trustee                                     Carol L. Fox
C/O PELORUS EQUITY GROUP, INC.                100 E Vine St #500                               200 East Broward Blvd #1010
124 TUSTIN AVENUE, SUITE 200                  Lexington, KY 40507-1441                         Fort Lauderdale, FL 33301-1943
NEWPORT BEACH CA 92663-4782


Suzanne Koenig                                End of Label Matrix
SAK Management Services, LLC                  Mailable recipients    18
300 Saunders Rd                               Bypassed recipients     0
Suite 300                                     Total                  18
Riverwoods, IL 60015-5708
                 Case 19-61608-grs       Doc 295-1     Filed 02/28/20          Entered 02/28/20 12:31:53       Desc
Label Matrix for local noticing               Internal Revenue
                        All Debtors Creditor Matrixes          Service
                                                         and the    Master Mailing Matrix Securities
                                                                                           Page 12andofExchange
                                                                                                          29 Commn.
0643-6                                        P.O. Box 7346                               Bankruptcy Section
Case 19-61610-grs                             Philadelphia, PA 19101-7346                 175 W. Jackson Blvd.
Eastern District of Kentucky                                                              Suite 900
London                                                                                    Chicago, IL 60604-2815
Fri Feb 28 10:05:18 EST 2020
St. Alexius Hospital Corporation #1           Toby Mug Financing, LLC                     London Office
3933 S Broadway                               c/o Fowler Bell PLLC                        US Bankruptcy Court
St Louis, MO 63118-4601                       300 W. Vine Street, Ste 600                 PO Box 1111
                                              Lexington, KY 40507-1751                    Lexington, KY 40588-1111


ABBOTT DIAGNOSTICS DIVISION OF               ABBOTT LABORATORIES INC.                       ABBOTT POINT OF CARE INC.
ABBOTT LABORATORIES INC.                     C/O KOHNER, MANN & KAILAS, S.C.                C/O KOHNER, MANN & KAILAS, S.C.
C/O KOHNER, MANN & KAILAS, S.C.              4650 NORTH PORT WASHINGTON ROAD                4650 NORTH PORT WASHINGTON ROAD
4650 NORTH PORT WASHINGTON ROAD              MILWAUKEE, WISCONSIN 53212-1077                MILWAUKEE, WISCONSIN 53212-1077
MILWAUKEE, WISCONSIN 53212-1077

ACEN                                         AIR LIQUIDE HEALTHCARE AMERICA CORP.           APPERSON PRINT RESOURCES, INC.
3343 PEACHTREE ROAD NE                       C/O CAPITAL SERVICES, INC.                     2908 STWART CREEK
SUITE 850                                    1675 S. STATE STREET, SUITE B                  CHARLOTTE NC 28216-3592
ATLANTA GA 30326-1093                        DOVER DE 19901-5140


ASSESSMENT TECHNOLOGIES INSTITUTE, LLC       AYA HEALTHCARE INC.                            BAYER HEALTHCARE
C/O MICHAEL ST. CIN                          C/O SHANNON STEELY                             3930 EDISON LAKES PKWY
62277 COLLECTIONS CTR. DR.                   P.O. BOX 123519, DEPT 3519                     MISHAWAKA, IN 46545-3418
CHICAGO IL 60693-0001                        DALLAS TX 75312-3519


BIOTRONIK INC.                               BOSTON SCIENTIFIC/MICROVASIVE                  CAE HEALTHCARE INC.
P.O. BOX 205421                              P.O. BOX 951653                                6300 EDGELAKE DRIVE
DALLAS TX 75320-5421                         DALLAS TX 75395-1653                           SARASOTA FL 34240-8817



CARDIOVASCULAR SYSTEMS INC.                  CARE LEARNING                                  CARE LEARNING
1225 OLD HIGHWAY 8 NW                        C/O KATIE BLACKWELL                            P.O. BOX 728
SAINT PAUL MN 55112-6416                     P.O. BOX 728                                   CHARLESTON WV 25323-0728
                                             CHARLESTON WV 25323-0728


CORPORATION SERVICES COMPANY                 CPI                                            CT CORPORATION SYSTEMS
P.O. BOX 2576                                10850 W. PARK PLACE                            ATTN: SPRS
SPRINGFIELD IL 62708-2576                    SUITE 600                                      330 N. BRAND BLVD., SUITE 700
                                             MILWAUKEE WI 53224-3640                        GLENDALE CA 91203-2336


D. PARK SMITH                                D. PARK SMITH                                  (p)DELL FINANCIAL SERVICES
250 CHERRY SPRINGS ROAD, SUITE 200           LAW OFFICE OF D. PARK SMITH                    P O BOX 81577
HUNT, TX 78024-3010                          250 CHERRY SPRINGS RD.                         AUSTIN TX 78708-1577
                                             SUITE 200
                                             HUNT, TX 78024-3010

DEWAN, MARCUS                                FALCON TECHNOLOGIES, INC                       FAULTLESS
601 UNION STREET                             2631 METRO BLVD                                C/O TERRY MASON
SUITE 3010                                   MARYLAND HEIGHTS MO 63043-2411                 2030 S. BROADWAY
SEATTLE WA 98101-3913                                                                       SAINT LOUIS MO 63104-4056
                 Case 19-61608-grs         Doc 295-1     Filed 02/28/20         Entered 02/28/20 12:31:53       Desc
FAULTLESS                                     GARDA CL SOUTHWEST
                        All Debtors Creditor Matrixes    and the INCMaster Mailing Matrix GIBBS
                                                                                           Page TECHNOLOGY
                                                                                                   13 of 29LEASING - HG1, LLC
P. O. BOX 795205                              BAKER & HOSTETLER LLP                       3236 WEST EDGEWOOD ROAD, SUITE A
SAINT LOUIS MO 63179-0701                     KEY TOWER                                   JEFFERSON CITY MO 65109-6946
                                              127 PUBLIC SQ, STE 2000
                                              CLEVELAND OH 44114-1214

GRANT R. WHITE                                 HERBSTER HELLWEG PAINTING CO.                 HERFF JONES
6857 CREST ROAD                                C/O IRA POTTER                                PO BOX 99292
RANCHO PALOS VERDES CA 90275-4554              1610 DES PERES RD., SUITE 100                 CHICAGO IL 60693-9292
                                               SAINT LOUIS MO 63131-1850


HMFCG INC.                                     HOLY CROSS LUTHERAN CHURCH                    HUCKSHOLD, KEVIN
368 NEW HEMSTEAD RD.                           2650 MIAMI STREET                             8819 WRENWOOD LANE
NEW CITY NY 10956-1900                         SAINT LOUIS MO 63118-3978                     SAINT LOUIS MO 63144-1703



HUSCH BLACKWELL LLP                            JANE DOE                                      JOHNSON & JOHNSON HEALTHCARE SYS.
33 EAST MAIN STREET, SUITE 300                 C/O WILLIAM E. KISTNER                        5972 COLLECTIONS CTR. DR.
P.O. BOX 1379                                  1018 BROADWAY BLVD., APT. 201                 CHICAGO IL 60693-0059
MADISON, WI 53701-1379                         KANSAS CITY MO 64105-1565


JONES DAY                                      KAREN RIZUTTI                                 LASHLY & BAER PC
C/O CHRIS ANDERSON                             C/O GENEVIEVE NICHOLS                         714 LOCUST ST
77 WEST WACKER DRIVE                           6202 COLUMBIA AVENUE                          SAINT LOUIS MO 63101-1603
CHICAGO IL 60601-1692                          SAINT LOUIS MO 63139-2715


LASHLY & BAER, P.C.                            MCKESSON MEDICAL SURGICAL                     MED ONE CAPITAL FUNDING, LLC
714 LOCUST                                     C/O MARLENA WALDRUM                           10712 SOUTH 1300 EAST
ST. LOUIS, MO 63101-1603                       12755 HIGHWAY 55                              SANDY UT 84094-5094
                                               SUITE R200
                                               MINNEAPOLIS MN 55441-4664

MELODIE BRUMBACK, ASSISTANT BUREAU CHIEF       METROPOLITAN ST. LOUIS SEWER DISTRICT         MIDWEST EMERGENCY DEPT. SERVICES, INC.
DEPT’T OF HEALTH AND SENIOR SERVICE            2350 MARKET STREET                            C/O KEVIN MEDER
BUREAU OF HOSPITAL STANDARDS                   SAINT LOUIS MO 63103-2555                     600 WASHINGTON AVENUE, SUITE 1800
PO BOX 570, 920 WILDWOOD                                                                     SAINT LOUIS MO 63101-1312
JEFFERSON CITY MO 65102-0570

MO DEP’T OF HIGHER ED. & WORKFORCE DEV.        MURPHY COMPANY                                NUMED, INC.
C/O JARON D. VAIL, MFA                         1233 N. PRICE ROAD                            P.O. BOX 1098
301 W. HIGH STREET                             SAINT LOUIS MO 63132-2303                     DENTON TX 76202-1098
P.O. BOX 1469
JEFFERSON CITY MO 65102-1469

NURSE KITS UNLIMITED                           NURSES PRN                                    ORTHO CLINICAL DIAGNOSTICS
2800 C ANCHOR DR.                              1101 E. SOUTH RIVER STREET                    P.O. BOX 3655
FARMINGTON MO 63640-7812                       APPLETON WI 54915-2223                        CAROL STREAM IL 60132-3655



OWENS & MINOR                                  PHYSICAL THERAPY CONSULTANTS, INC.            PROMISE HEALTHCARE GROUP LLC
18000 SOUTHERN ROAD                            C/O JAY B. UMANSKY                            C/O RICHARD ENGEL
KANSAS CITY MO 64120                           12450 OLIVE BLVD., SUITE 118                  7700 FORSYTH BLVD., SUITE 1800
                                               SAINT LOUIS MO 63141                          SAINT LOUIS MO 63105-1807
                 Case 19-61608-grs         Doc 295-1     Filed 02/28/20          Entered 02/28/20 12:31:53       Desc
QUILL CORP                                    QUILL CORPORATION
                        All Debtors Creditor Matrixes    and the Master Mailing Matrix RED OAK LANDSCAPING
                                                                                        Page    14 of 29
C/O STAPLES BUSINESS ADVANTAGE                P.O. BOX 37600                           1803 OLD STATE RT. 21
7 TECHNOLOGY CIR                              PHILADELPHIA PA 19101-0600               ARNOLD MO 63010-3207
COLUMBIA SC 29203-9591


REPUBLIC BANK                                  SAINT LOUIS UNIVERSITY                         SLU CARE
1560 SO. RENAISSANCE TOWNE DR.                 C/O LARRY E. PARRES, LEWIS RICE                P.O. BOX 958541
SUITE 260                                      600 WASHINTON AVENUE                           SAINT LOUIS MO 63195-8541
BOUNTIFUL UT 84010-7683                        SUITE 2500
                                               SAINT LOUIS MO 63101-1311

SMART BUSINESS                                 SPECIALISTS IN ANESTHESIA PC                   SPIRE MISSOURI FKA LACLEDE GAS COMPANY
561 NORTHEST 79TH STREET                       C/O DR. BRAD BERNSTEIN                         700 MARKET ST
MIAMI FL 33138                                 500 S. MERAMEC DRIVE                           C/O SPIRE BANKRUPTCY
                                               SAINT LOUIS MO 63105-2533                      SAINT LOUIS, MO 63101-1829


STAPLES BUSINESS ADVANTAGE                     STAPLES OFFICE SUPPLY                          SURGICAL DIRECT
STAPLES/TOM RIGGLEMAN                          DEPT CHI 4368 P.O. BOX 83689                   2355 CENTERLINE IND. DRIVE
7 TECHNOLOGY CIR                               CHICAGO IL 60696-0001                          SAINT LOUIS MO 63146-3301
COLUMBIA SC 29203-9591


SURGICAL DIRECT INC                            SYSCO                                          SYSCO ST. LOUIS, LLC
2355 CENTERLINE INDUSTRIAL DR.                 3850 MUELLER RD                                C/O MEGHAN WELLS, ARNALL GOLDEN GREGORY
ST. LOUIS, MO 63146-3301                       SAINT CHARLES MO 63301-8042                    171 17TH STREET NW, SUITE 2100
                                                                                              ATLANTA, GA 30363-1031


TELEFLEX FUNDING LLC                           THE INK SPOT                                   THE TALBOT GROUP, LLC
PO BOX 936729                                  3433 HAMPTON AVE                               C/O DONNA TALBOT
ATLANTA GA 31193-6729                          SAINT LOUIS MO 63139-1940                      11741 W. ROMIN RD
                                                                                              POST FALLS ID 83854-4716


THE THIRD FRIDAY TOTAL RETURN FUND, L.P.       THYSSENKRUPP ELEVATOR CORP.                    TJS DEEMER DANA LLP
C/O MICHAEL E. LEWITT                          C/O LAW OFFICE OF D. PARK SMITH                118 PARK OF COMMERCE DR.
85 N. CONGRESS AVENUE                          250 CHERRY SPRINGS ROAD, SUITE 200             SUITE 200
DELRAY BEACH FL 33445-3424                     HUNT, TX 78024-3010                            SAVANNAH GA 31405-1586


TOBY MUG FINANCING, LLC                        TOTAL RENAL CARE INC.                          TUITION OPTIONS
C/O ROGER HERMAN                               P.O. BOX 781607                                14000 HORIZON WAY
ROSENBLUM BOLDENHERSH                          PHILADELPHIA PA 19178-1607                     #400
7733 FORSYTH BLVD., SUITE 400                                                                 MOUNT LAUREL NJ 08054-4342
SAINT LOUIS MO 63105-1817

U.S. Trustee                                   UNIT 4 EDUCATION SOLUTIONS INC                 UNIT4 EDUCATION SOLUTIONS, INC.
100 E Vine St #500                             C/O TONY TAJKARIMI                             3 BURLINGTON WOODS DRIVE, SUITE 201
Lexington, KY 40507-1441                       14567 NORTH OUTER FORTY RD.                    BURLINGTON, MA 01803-4514
                                               SUITE 125
                                               CHESTERFIELD MO 63017-5772

UNITEDHEALTHCARE INSURANCE COMPANY             WESTERN HEALTHCARE                             WILLIAM CLICK
ATTN: CDM/BANKRUPTCY                           C/O SCOTT WEBB                                 C/O MICHAEL JOSEPH SUDEKUM
185 ASYLUM STREET 03B                          13155 NOEL RD.                                 1010 MARKET STREET, SUITE 850
HARTFORD, CT 06103-3402                        SUITE 200                                      SAINT LOUIS MO 63101-2029
                                               DALLAS TX 75240-5021
                 Case 19-61608-grs            Doc 295-1        Filed 02/28/20            Entered 02/28/20 12:31:53              Desc
WINDSTREAM COMMUNICATIONSAll Debtors Creditor Matrixes
                                               Carol L. Foxand the Master Mailing Matrix Suzanne
                                                                                          PageKoenig
                                                                                                  15 of 29
P.O. BOX 9001013                               200 East Broward Blvd #1010               SAK Management Services, LLC
LOUISVILLE KY 40290-1013                       Fort Lauderdale, FL 33301-1943            300 Saunders Rd
                                                                                         Suite 300
                                                                                         Riverwoods, IL 60015-5708



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


DELL FINANCIAL SERVICES LLC
ONE DELL WAY
MAIL STOP - PS2DF-23
ROUND ROCK TX 78682




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Saint Louis University                            (u)ASSESSMENT TECHNOLOGIES INSTITUTE, LLC            (d)SAINT LOUIS UNIVERSITY
                                                     C/O MICHAEL ST. CIN                                  C/O LARRY E. PARRES, LEWIS RICE, LLC
                                                                                                          600 WASHINTON AVENUE
                                                                                                          SUITE 2500
                                                                                                          SAINT LOUIS MO 63101-1311

(u)SPECIALISTS IN ANESTHESIA PC                      (u)UNIT 4 EDUCATION SOLUTIONS INC                    End of Label Matrix
C/O DR. BRAD BERNSTEIN                               C/O TONY TAJKARIMI                                   Mailable recipients    92
500 S. MERAMEC DRIVE                                                                                      Bypassed recipients     5
MO 63405                                                                                                  Total                  97
                 Case 19-61608-grs            Doc 295-1        Filed 02/28/20         Entered 02/28/20 12:31:53              Desc
Label Matrix for local noticing               Internal Revenue
                        All Debtors Creditor Matrixes          Service
                                                         and the    Master Mailing Matrix Securities
                                                                                           Page 16andofExchange
                                                                                                          29 Commn.
0643-6                                        P.O. Box 7346                               Bankruptcy Section
Case 19-61611-grs                             Philadelphia, PA 19101-7346                 175 W. Jackson Blvd.
Eastern District of Kentucky                                                              Suite 900
London                                                                                    Chicago, IL 60604-2815
Fri Feb 28 10:05:45 EST 2020
St. Alexius Properties, LLC                   Toby Mug Financing, LLC                     London Office
3933 S Broadway                               c/o Fowler Bell PLLC                        US Bankruptcy Court
St Louis, MO 63118-4601                       300 W. Vine Street, Ste 600                 PO Box 1111
                                              Lexington, KY 40507-1751                    Lexington, KY 40588-1111


BQR CAPITAL, LLC                                     CORPORATION SERVICES COMPANY                         CT CORPORATION SYSTEMS
C/O PELORUS EQUITY GROUP, INC.                       P.O. BOX 2576                                        ATTN: SPRS
124 TUSTIN AVENUE, SUITE 200                         SPRINGFIELD IL 62708-2576                            330 N. BRAND BLVD., SUITE 700
NEWPORT BEACH CA 92663-4782                                                                               GLENDALE CA 91203-2336


GRANT R. WHITE                                       HERBSTER HELLWEG PAINTING CO.                        HUSCH BLACKWELL LLP
6857 CREST ROAD                                      C/O IRA POTTER                                       33 EAST MAIN STREET, SUITE 300
RANCHO PALOS VERDES CA 90275-4554                    1610 DES PERES RD., SUITE 100                        P.O. BOX 1379
                                                     SAINT LOUIS MO 63131-1850                            MADISON, WI 53701-1379


KOVEN OMENS TRUST DATED 1/17/08                      MELODIE BRUMBACK, ASSISTANT BUREAU CHIEF             MURPHY COMPANY
C/O PELORUS EQUITY GROUP, INC.                       DEPT’T OF HEALTH AND SENIOR SERVICE                  1233 N. PRICE ROAD
124 TUSTIN AVENUE, SUITE 200                         BUREAU OF HOSPITAL STANDARDS                         SAINT LOUIS MO 63132-2303
NEWPORT BEACH CA 92663-4782                          PO BOX 570, 920 WILDWOOD
                                                     JEFFERSON CITY MO 65102-0570

PELORUS FUND, LLC                                    PELORUS FUND, LLC                                    SMART BUSINESS
C/O BIBIN MANNATTUPARAMPIL                           C/O PELORUS EQUITY GROUP, INC.                       561 NORTHEST 79TH STREET
GERACI LLP                                           124 TUSTIN AVENUE, SUITE 200                         MIAMI FL 33138
90 DISCOVERY                                         NEWPORT BEACH CA 92663-4782
IRVINE CA 92618-3105

(p)SPRINT NEXTEL CORRESPONDENCE                      THE MCNEE FAMILY TRUST DATED 1/17/08                 THE THIRD FRIDAY TOTAL RETURN FUND, L.P.
ATTN BANKRUPTCY DEPT                                 C/O PELORUS EQUITY GROUP, INC.                       C/O MICHAEL E. LEWITT
PO BOX 7949                                          124 TUSTIN AVENUE, SUITE 200                         85 N. CONGRESS AVENUE
OVERLAND PARK KS 66207-0949                          NEWPORT BEACH CA 92663-4782                          DELRAY BEACH FL 33445-3424


TOBY MUG FINANCING, LLC                              TRUST OF R. AND G. GLITZ DATED 12/11/07              U.S. Trustee
C/O ROGER HERMAN                                     C/O PELORUS EQUITY GROUP, INC.                       100 E Vine St #500
ROSENBLUM BOLDENHERSH                                124 TUSTIN AVENUE, SUITE 200                         Lexington, KY 40507-1441
7733 FORSYTH BLVD., SUITE 400                        NEWPORT BEACH CA 92663-4782
SAINT LOUIS MO 63105-1817

Carol L. Fox                                         Suzanne Koenig
200 East Broward Blvd #1010                          SAK Management Services, LLC
Fort Lauderdale, FL 33301-1943                       300 Saunders Rd
                                                     Suite 300
                                                     Riverwoods, IL 60015-5708



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
              Case 19-61608-grs        Doc 295-1      Filed 02/28/20     Entered 02/28/20 12:31:53 Desc
SPRINT CORP.                                  End of Labeland
                        All Debtors Creditor Matrixes      Matrix
                                                               the Master Mailing Matrix
                                                                                       Page 17 of 29
ATTN: BANKRUPTCY                              Mailable recipients 25
PO BOX 7949                                   Bypassed recipients   0
OVERLAND PARK, KS 66207-0949                  Total                25
                 Case 19-61608-grs         Doc 295-1     Filed 02/28/20            Entered 02/28/20 12:31:53       Desc
Label Matrix for local noticing               Internal Revenue
                        All Debtors Creditor Matrixes          Service
                                                         and the    Master Mailing Matrix Izard
                                                                                           Page County
                                                                                                   18 Medical
                                                                                                        of 29 Center, LLC
0643-6                                        P.O. Box 7346                               61 Grasse Street
Case 19-61612-grs                             Philadelphia, PA 19101-7346                 Calico Rock, AR 72519-7013
Eastern District of Kentucky
London
Fri Feb 28 10:06:12 EST 2020
Securities and Exchange Commn.                London Office                               3M HEALTH INFORMATION SYSTEMS
Bankruptcy Section                            US Bankruptcy Court                         C/O MICHELLE DOYLE, DEPT 0881
175 W. Jackson Blvd.                          PO Box 1111                                 PO BOX 120881
Suite 900                                     Lexington, KY 40588-1111                    DALLAS TX 75312-0881
Chicago, IL 60604-2815

ABILITY NETWORK, INC.                          ABILITY NETWORK, INC.                            ACCENT
G4 HEALTH SYSTEMS                              PO BOX 856015                                    P.O BOX 952366
PO BOX 856015                                  MINNEAPOLIS MN 55485-6015                        SAINT LOUIS MO 63195-2366
MINNEAPOLIS MN 55485-6015


ADAMS AND REESE LLP                            ALLPARTS MEDICAL                                 AMERICAN PAPER & TWINE CO
C/O GARRETT ZOGHBY                             62654 COLLECTIONS CENTER DRIVE                   7400 COCKRILL BEND BLVD.
DEPT 5208, PO BOX 2153                         CHICAGO IL 60693-0001                            NASHVILLE TN 37209-1035
BIRMINGHAM AL 35287-0002


AMERICAN PROFECIENCY INSTITUTE                 AMERICAN RED CROSS                               AMERICAN WELDING GAS
DEPT. 9526 P.O. BOX 30516                      C/O PAULETT SMITH                                PO BOX 74008003
LANSING MI 48909-8016                          PO BOX 730040                                    CHICAGO IL 60674-8003
                                               DALLAS TX 75373-0040


AMERISOURCE BERGEN CORP                        APP GROUP INTERNATIONAL, LLC                     AR CARE
P.O. BOX 676337                                85 BROAD STREET, 75TH FLOOR                      P.O. BOX 497
DALLAS TX 75267-6337                           NEW YORK NY 10004-2783                           AUGUSTA AR 72006-0497



ARGUS CAPITAL FUNDING LLC                      ARKANSAS DEPT OF HEALTH                          ARKANSAS HOSPITAL ASSN
C/O THOMSON OLLUNGA LLP                        44815 WEST MARKHAM STREET                        C/O BO RYALL
747 THIRD AVENUE 2ND FLOOR                     LITTLE ROCK AR 72205                             419 NATURAL RESOURCES DRIVE
NEW YORK NY 10017-2878                                                                          LITTLE ROCK AR 72205-1576


ASPYRA, LLC                                    B BRAUN MEDICAL                                  BATESVILLE TYPEWRITER CO., INC.
705 SW 10TH STREET                             PO BOX 780433                                    PO BOX 3949
SUITE 109                                      PHILADELPHIA PA 19178-0433                       BATESVILLE AR 72503-3949
BLUE SPRINGS MO 64015-4234


BAXTER HEALTHCARE CORP                         BAXTER REGIONAL MEDICAL CENTER                   BAXTER REGIONAL MEDICAL CTR-LAB CULTURES
PO BOX 730531                                  C/O RON PETERSON, PRESIDENT & CEO                C/O RON PETERSON, PRESIDENT & CEO
DALLAS TX 75373-0531                           624 HOSPITAL DRIVE                               624 HOSPITAL DRIVE
                                               MOUNTAIN HOME AR 72653-2955                      MOUNTAIN HOME AR 72653-2955


BAXTER REGIONAL MEDICAL CTR-LAB CULTURES       BAYER HEALTHCARE                                 BIOMEDICAL SERVICES LLC
C/O RON PTERSON, PRESIDENT & CEO               PO BOX 360172                                    4931 CO. RD. 8920
624 HOSPITAL DRIVE                             PITTSBURGH PA 15251-6172                         WEST PLAINS MO 65775
MOUNTAIN HOME AR 72653-2955
                 Case 19-61608-grs      Doc 295-1      Filed 02/28/20            Entered 02/28/20 12:31:53       Desc
(p)BLACK HILLS ENERGY All Debtors Creditor Matrixes
                                            BLUE ADVANTAGE
                                                       andADMINISTRATORS
                                                             the MasterOFMailing
                                                                         ARK     Matrix (p)BRACCO
                                                                                         Page 19  DIAGNOSTICS
                                                                                                     of 29 INC
1102 EAST FIRST STREET                      P.O. BOX 1460                               259 PROSPECT PLAINS ROAD
PAPILLION NE 68046-7641                     LITTLE ROCK AR 72203-1460                   BLDG H
                                                                                        MONROE TOWNSHIP NJ 08831-3820


CALICO ROCK MED LLC                          CALICO ROCK MED, LLC                             CARE IMP. PLUS SOUTH CENTRAL INS. CO.
C/O DARREN GIBBS                             C/O GESS MATTINGLY & ATCHISON, P.S.C.            1401 W. CAPITOL AVENUE
LAW OFFICES OF DARREN A. GIBBS, PLLC         201 WEST SHORT STREET, STE. 102                  THIRD FLOOR, SUITE 375
3729 N. CROSSOVER ROAD, SUITE 111            LEXINGTON, KY 40507-1231                         LITTLE ROCK AR 72201-2936
FAYETTEVILLE AR 72703-5538

CENTRAL TOX LLC                              CENTURYLINK COMMUNICATION LLC                    CENTURYLINK HOSPITAL
525 ROUND ROCK W. CR.                        C/O MAX HOLSTEAD                                 C/O MAX HOLSTEAD
ROUND ROCK TX 78681-6938                     PO BOX 4300                                      PO BOX 4300
                                             CAROL STREAM IL 60197-4300                       CAROL STREAM IL 60197-4300


CINTAS                                       CLEANER SOLUTIONS                                COMPLETE CARE INC.
CINTAS LOC 572                               593 W LEWISBURG RD                               P.O. BOX 23840
1724 AIRPORT RD                              AUSTIN AR 72007-9470                             LITTLE ROCK AR 72221-3840
HARRISON AR 72601-9408


CORRECT CARE, INC.                           COVIDIEN                                         DAILY ACCESS CORPORATION
C/O NANCY SCEARCE                            P.O. BOX 120823                                  DEPT. 5092 P.O. BOX 2153
229 SAINT JOHN LN                            DALLAS TX 75312-0823                             BIRMINGHAM AL 35287-0002
COVINGTON LA 70433-3276


DEAN DORTON ALLEN FORD, PLLC                 DELL SOFTWARE, INC.                              DEMASS, MIKE
C/O JASON MILLER                             P.O. BOX 731381                                  16 WHITE FENCE LANE
250 W MAIN ST                                DALLAS TX 75373-1381                             MOUNTAIN HOME AR 72653-8313
SUITE 1400
LEXINGTON KY 40507-1721

EMERGENCE TELERADIOLOGY                      ENTERGY                                          FERGUSON, KATHERINE, RD, LD
C/O EARL B. MAES, MD                         C/O JON MAJEWSKI                                 3297 LEO AMMON RD.
205 PARK CENTRAL EAST                        PO BOX 8101                                      FAYETTEVILLE AR 72701-0741
SUITE 516                                    BATON ROUGE LA 70891-8101
SPRINGFIELD MO 65806-1334

FFE ENTERPRISES, INC.                        FIRST INS FUNDING                                FORT SMITH SURGICAL SUPPLY CO.
P.O. BOX 840150                              P.O. BOX 7000                                    809 SOUTH Y STREET
LOS ANGELES CA 90084-0150                    CAROL STREAM IL 60197-7000                       FORT SMITH AR 72901-5917



FRANKS, RUSTY                                GRANT R. WHITE                                   GREAT AMERICA FINANCIAL SVCS
8042 W AR 56 HWY                             6857 CREST ROAD                                  PO BOX 66083
WIDEMAN AR 72585-8878                        RANCHO PALOS VERDES CA 90275-4554                DALLAS TX 75373-0001



GREAT AMERICA FINANCIAL SVCS                 GULF COAST SCIENTIFIC, INC.                      HARRISON ENERGY PARTNERS
PO BOX 660831                                209 STATE STREET EAST                            1501 WESTPARK DRIVE
DALLAS TX 75266-0831                         OLDSMAR FL 34677-3654                            SUITE 9
                                                                                              LITTLE ROCK AR 72204-2457
                 Case 19-61608-grs      Doc 295-1      Filed 02/28/20          Entered 02/28/20 12:31:53       Desc
HEALTH ADVANTAGE                              HEALTHCARE and
                        All Debtors Creditor Matrixes    LOGISTIC
                                                               the Master Mailing Matrix HEALTHLAND
                                                                                          Page 20CPSI of 29
P.O. BOX 8069                                 P.O. BOX 400                               C/O TROY DOLLY
LITTLE ROCK AR 72203-8069                     CIRCLEVILLE OH 43113-0400                  6600 WALL STREET
                                                                                         MOBILE AL 36695-4512


HERITAGE COMPANY                             HOP CAPITAL                                    HUMANA HEALTH CARE PLANS
P.O. BOX 890287                              323 SUNNY ISLAND BLVD.                         PO BOX 931655
CHARLOTTE NC 28289-0287                      #501                                           ATLANTA GA 31193-1655
                                             SUNNY ISLES BEACH FL 33160-4675


IDEXX DISTRIBUTION, INC.                     IZARD CO. TAX COLLECTOR                        J&J HEALTH CARE SYSTEMS, INC.
PO BOX 101327                                C/O PAUL WOMACK                                5972 COLLECTIONS CTR. DR.
ATLANTA GA 30392-1327                        15 SPRING STREET                               CHICAGO IL 60693-0059
                                             SUITE C
                                             MELBOURNE AR 72556-5003

JONES DAY                                    KNIGHT, BETH MD                                KNOWLES TRUE VALUE
C/O CHRIS ANDERSON                           C/O KIM SKIDMORE                               C/O RICK / BARBRA KNOWLES
77 WEST WACKER DRIVE                         PO BOX 819                                     PO BOX 308
CHICAGO IL 60601-1692                        CALICO ROCK AR 72519-0819                      CALICO ROCK AR 72519-0308


LANE, ROBERT C, MD                           (p)MALLARD GARDNER PLLC                        MAQUET MEDICAL SYSTEMS USA
C/O KIM SKIDMORE                             ATTN GABRIEL D MALLARD                         3615 SOLUTIONS CENTER
PO BOX 819                                   1422 SCOTT STREET                              CHICAGO IL 60677-3006
CALICO ROCK AR 72519-0819                    LITTLE ROCK AR 72202-5054


MCKESSON MEDICAL-SURGICAL                    MCKESSON MEDICAL-SURGICAL                      MEDICAL WASTE SERVICES, LLC
C/O JOLETTE PHILLIPS                         PO BOX 660266                                  11995 HWY 62E
PO BOX 660266                                DALLAS TX 75266-0266                           HARRISON AR 72601-8313
DALLAS TX 75266-0266


(p)MEDLINE INDUSTRIES INC                    METHVIN SANITATION                             MINDRAY NORTH AMERICA
ATTN ANNE KISHA                              340 W INDUSTRIAL PARK RD                       C/O CATHERINE LORA
ONE MEDLINE PL                               HARRISON AR 72601-6803                         800 MCCARTHUR BLVD.
MUNDELEIN IL 60060-4486                                                                     MAHWAH NJ 07430-2001


MOBILE 1 XRAY                                MOORE, HERWIN B. MD                            OFFICE OF HEALTH INFORMATION TECH
P.O. BOX 246                                 283 HOLLY DRIVE                                1501 N. UNIVERSITY
MOUNTAIN HOME AR 72654-0246                  MOUNTAIN HOME AR 72653-4200                    SUITE 420
                                                                                            LITTLE ROCK AR 72207-5233


OUTCOME SCIENCES                             OWENS & MINOR                                  OZARK SURGICAL GROUP
201 BROADWAY 5TH FLOOR                       ATT: CREDIT TEAM                               901 BURNETT DR
CAMBRIDGE MA 02139-1955                      9120 LOCKWOOD BLVD                             MOUNTAIN HOME AR 72653-2908
                                             MECHANICSVILLE, VA 23116-2015


OZARK SURGICAL GROUP                         PAYMENT RESOLUTION SERVICES                    PEM FILINGS, LLC
C/O SURGICAL WING                            ATTN: MSC 410837                               DEPT. 1920 P.O. BOX 4110
901 BURNETT DR                               P.O. BOX 415000                                WOBURN MA 01888-4110
MOUNTAIN HOME AR 72653-2908                  NASHVILLE TN 37241-5000
                 Case 19-61608-grs     Doc 295-1       Filed 02/28/20            Entered 02/28/20 12:31:53          Desc
PERFORMACE PHARMACY SYSTEMS                   PHILIPS HEALTHCARE
                        All Debtors Creditor Matrixes    and the Master Mailing Matrix PIERCE,
                                                                                        PageJAME21 MD
                                                                                                    of 29
5614 36TH AVENUE NORTH                        C/O ROBERT KENNEDY                       1519 ELLEN COURT
SAINT PETERSBURG FL 33710-1914                PO BOX 100355                            LITTLE ROCK AR 72212-3814
                                              ATLANTA GA 30384-0355


PIPPIN WHOLESALE CO                          PIPPIN WHOLESALE CO                              PITNEY BOWES, INC.
12 HWY 62-65 N                               512 HWY 62-65 N                                  PO BOX 85390
HARRISON AR 72601                            HARRISON AR 72601-2504                           LOUISVILLE KY 40285



PRESS GANEY ASSOC, INC.                      PROHEALTH CARE SEARCH, INC.                      PURCHASE POWER
PO BOX 88335                                 254 S. RONALD REAGAN BLVD.                       P.O. BOX 371874
MILWAUKEE WI 53288-8335                      SUITE 225                                        PITTSBURGH PA 15250-7874
                                             LONGWOOD FL 32750-5467


RECEIVABLE MANAGEMENT SERVICE                REEVES, JAMES L                                  RUHOF CORP.
C/O CORPORATION TRUST COMPANY                P.O. BOX 9165                                    393 SAGAMORE AVE
CORPORATION TRUST CENTER                     HOT SPRINGS VILLAGE AR 71910-9165                MINEOLA NY 11501-1919
1209 ORANGE STREET
WILMINGTON DE 19801-1196

SANDERS PLUMBING SUPPLIES                    SHARED MEDICAL SERVICES, INC.                    SHRED-IT USA
C/O JUSTIN SANDERS                           209 LIMESTONE PASS                               28883 NETWORK PLACE
PO BOX 277                                   COTTAGE GROVE WI 53527-8968                      CHICAGO IL 60673-1288
PINEVILLE AR 72566-0277


SIEMENS HEALTHCARE DIAGNOSTICS               SOUTHERN COMPUTER WAREHOUSE                      SPECTRA CORP
PO BOX 121102                                C/O SAM KILCREASE                                8131 LBJ FREEWAY
DALLAS TX 75312-1102                         PO BOX 745102                                    SUITE 360
                                             ATLANTA GA 30374-5102                            DALLAS TX 75251-1332


STAHL, RAY E., M.D., P.A.                    STAPLES ADVANTAGE                                STERIS CORP
PO BOX 841                                   P.O. BOX 83689                                   PO BOX 676548
CALICO ROCK AR 72519-0841                    CHICAGO IL 60696-0001                            DALLAS TX 75267-6548



STICKLES, JENNIFER                           (p)STRATEQ HEALTH INC                            STRYKER ORTHOPAEDICS
139 CR 96                                    ATTN MENGCHEE LOH                                1400 WESTPARK DRIVE
CLARKRIDGE AR 72623-9631                     7700 WINDROSE AVE STE G300                       LITTLE ROCK AR 72204-2415
                                             PLANO TX 75024-0176


SWEARINGEN REALTY GROUP, LLC                 SYSCO FOOD SRVS OF ARKANSAS                      THE HEALTH LAW FIRM
5950 BERKSHIRE LANE                          PO BOX 193410                                    5224 SHERWOOD RAOD
SUITE 500                                    LITTLE ROCK AR 72219-3410                        LITTLE ROCK AR 72207-5426
DALLAS TX 75225-5864


THE HEALTH LAW FIRM                          THE THIRD FRIDAY TOTAL RETURN FUND, L.P.         U.S. Trustee
5224 SHERWOOD ROAD                           C/O MICHAEL E. LEWITT                            100 E Vine St #500
LITTLE ROCK AR 72207-5426                    85 N. CONGRESS AVENUE                            Lexington, KY 40507-1441
                                             DELRAY BEACH FL 33445-3424
                 Case 19-61608-grs            Doc 295-1        Filed 02/28/20            Entered 02/28/20 12:31:53            Desc
UNITED HEALTHCARE                              UNITEDHEALTHCARE
                         All Debtors Creditor Matrixes          INSURANCE
                                                          and the         COMPANY
                                                                     Master    Mailing Matrix VERIZON
                                                                                               PageWIRELESS
                                                                                                       22 of 29CELL
2 ALLEGHENY CTR.                               ATTN: CDM/BANKRUPTCY                           PO BOX 660108
SUITE 600                                      185 ASYLUM STREET 03B                          DALLAS TX 75266-0108
PITTSBURGH PA 15212-5403                       HARTFORD, CT 06103-3402


WELCH, COUCH & COMPANY, P.A.                         WHITE RIVER PLANNING AND DEVELOPMENT                 WHITE RIVER PLANNING AND DEVELOPMENT
C/O BILL COUCH                                       C/O REGAN MILLER                                     C/O REGAN MILLER
P.O. BOX 2094                                        PO BOX 2396                                          PO BOX 2396
BATESVILLE AR 72503-2094                             BATESVILLE AR 72503-2396                             ROWLETT TX 75030


WOLTERS KLUWER CLINICAL DRUG INFO.                   WRIGHT MEDICAL TECHNOLOGY, INC.                      YELCOT
62456 COLLECTIONS CENTER DR                          PO BOX 503482                                        PO BOX 70
CHICAGO IL 60693-0001                                SAINT LOUIS MO 63150-3482                            MOUNTAIN VIEW AR 72560-0070



ZIMMER US INC.                                       ZIRMED, INC.                                         ZOLL MEDICAL CORPORATION GPO
PO BOX 790413                                        1311 SOLUTIONS CENTER                                PO BOX 27028
SAINT LOUIS MO 63179-0413                            CHICAGO IL 60677-1003                                NEW YORK NY 10087-7028



Carol L. Fox                                         Suzanne Koenig
200 East Broward Blvd #1010                          SAK Management Services, LLC
Fort Lauderdale, FL 33301-1943                       300 Saunders Rd
                                                     Suite 300
                                                     Riverwoods, IL 60015-5708



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BLACK HILLS ENERGY                                   BRACCO DIAGNOSTICS, INC.                             MALLARD GARDNER, PLLC
PO BOX 6001                                          P.O. BOX 978952                                      C/O GABRIEL MALLARD
RAPID CITY SD 57709                                  DALLAS TX 75397                                      1422 SCOTT STREET
                                                                                                          LITTLE ROCK AR 72202


MEDLINE INDUSTRIES                                   (d)MEDLINE INDUSTRIES, INC.                          STRATEQ HEALTH
C/O MICHAEL S. BAIM, THE CKB FIRM                    C/O MICHAEL S. BAIM, THE CKB FIRM                    C/O MENGCHEE LOH
DEPT 1080                                            DEPT 1080, PO BOX 121080                             7700 WINDROSE AVE
PO BOX 121080                                        DALLAS TX 75312                                      SUITE G300
DALLAS TX 75312                                                                                           PLANO TX 75024




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)ACCENT                                            (d)ADAMS AND REESE LLP                               (u)AMERICAN PAPER & TWINE CO
                                                     C/O GARRETT ZOGHBY, DEPT 5208
                                                     PO BOX 2153
                                                     BIRMINGHAM AL 35287-0002
                   Case 19-61608-grs   Doc 295-1      Filed 02/28/20         Entered 02/28/20 12:31:53          Desc
(u)AMERICAN PROFECIENCY INSTITUTE             (u)AR CARE and the Master Mailing Matrix (u)ARKANSAS
                        All Debtors Creditor Matrixes                                   Page 23DEPT   OF HEALTH
                                                                                                   of 29




(u)ARKANSAS HOSPITAL ASSN                   (u)BIOMEDICAL SERVICES LLC                    (u)BLUEADVANTAGE ADMINISTRATORS OF ARK




(u)BRACCO DIAGNOSTICS, INC.                 (u)C.R.BARD, INC.                             (u)CENTRAL TOX LLC




(u)CENTURYLINK COMMUNICATION LLC            (u)COMPLETE CARE INC.                         (u)COVIDIEN




(u)DAILY ACCESS CORPORATION                 (u)DELL SOFTWARE, INC.                        (u)DEMASS, MIKE




(u)FERGUSON, KATHERINE, RD, LD              (u)FFF ENTERPRISES, INC.                      (d)FRANKS, RUSTY
                                                                                          8042 W. AR 56 HWY
                                                                                          WIDEMAN AR 72585-8878



(u)GULF COAST SCIENTIFIC, INC.              (u)HARRISON ENERGY PARTNERS                   (u)HEALTH ADVANTAGE




(u)J&J HEALTH CARE SYSTEMS, INC.            (u)MAQUET MEDICAL SYSTEMS USA                 (u)MINDRAY NORTH AMERICA




(u)MOBILE I XRAY                            (u)OFFICE OF HEALTH INFORMATION TECH          (u)PAYMENT RESOLUTION SERVICES




(u)PEM FILINGS, LLC                         (u)PROHEALTH CARE SEARCH, INC.                (u)PURCHASE POWER
                 Case 19-61608-grs Doc 295-1 Filed 02/28/20 Entered 02/28/20 12:31:53 Desc
(u)REEVES, JAMES L                         (u)SPECTRA and
                     All Debtors Creditor Matrixes    CORP the Master Mailing Matrix (u)STAPLES
                                                                                      Page 24ADVANTAGE
                                                                                                of 29




(u)STEMENS HEALTHCARE DIAGNOSTICS          (u)SWEARINGEN REALTY GROUP, LLC        (u)UNITED HEALTHCARE (ADV)




(u)WELCH, COUCH & COMPANY, P.A.            End of Label Matrix
                                           Mailable recipients   133
                                           Bypassed recipients    40
                                           Total                 173
                 Case 19-61608-grs       Doc 295-1      Filed 02/28/20            Entered 02/28/20 12:31:53          Desc
Label Matrix for local noticing               Ellwood Medical
                        All Debtors Creditor Matrixes    and Center,   LLC
                                                               the Master  Mailing Matrix Internal
                                                                                           Page 25 Revenue Service
                                                                                                        of 29
0643-6                                        724 Pershing Street                         P.O. Box 7346
Case 19-61613-grs                             Ellwood City, PA 16117-1474                 Philadelphia, PA 19101-7346
Eastern District of Kentucky
London
Fri Feb 28 10:06:44 EST 2020
Securities and Exchange Commn.                London Office                               ABBOTT LABORATORIES INC.
Bankruptcy Section                            US Bankruptcy Court                         C/O KOHNER, MANN & KAILAS, S.C.
175 W. Jackson Blvd.                          PO Box 1111                                 4650 NORTH PORT WASHINGTON ROAD
Suite 900                                     Lexington, KY 40588-1111                    MILWAUKEE, WISCONSIN 53212-1077
Chicago, IL 60604-2815

AHN EMERGENCY GROUP OF ELLWOOD, LTD.          BAYER HEALTHCARE                                 CAROL E. MOMJIAN
C/O KEVIN ALLEN, MICHAEL PEST                 ELISABETH MOLL                                   SENIOR DEPUTY ATTORNEY GENERAL-IN-CHARGE
EXKERT SEANMANS CHERIN & MELLOTT, LLC         3930 EDISON LAKES PKWY                           FIN. ENFORCEMENT SEC., PA OFF. ATT. GEN.
600 GRANT STREET, 44TH FLOOR                  MISHAWAKA, IN 46545-3418                         1600 ARCH STREET, SUITE 300
PITTSBURGH PA 15219-2713                                                                       PHILADELPHIA PA 19103-2016

COMMONWEALTH OF PENNSYLVANIA                  CORPORATION SERVICES COMPANY                     CT CORPORATION SYSTEMS
C/O NANCY A. WALKER                           P.O. BOX 2576                                    ATTN: SPRS
CHIEF DEPUTY ATTORNEY GENERAL                 SPRINGFIELD IL 62708-2576                        330 N. BRAND BLVD., SUITE 700
1600 ARCH STREET, SUITE 300                                                                    GLENDALE CA 91203-2336
PHILADELPHIA PA 19103-2016

DINAKAR GOLLA, M.D.                           EYS CASH, LLC                                    FISHER SCIENTIFIC COMPANY
THE LEVICOFF LAW FIRM                         1130 BEDFORD AVENUE                              711 FORBES AVENUE
4 PPG PLACE, SUITE 200                        NORTH MIAMI BEACH FL 33160                       PITTSBURGH PA 15219
PITTSBURGH, PA 15222-5444


GE PRECISION HEALTHCARE LLC                   GRANT R. WHITE                                   JASON L. SWARTLEY
AKA OEC MEDICAL SYSTEMS                       6857 CREST ROAD                                  CHIEF DEPUTY ATTORNEY GENERAL
C/O STEPHANIE F. GILLEY, AUTH. AGENT          RANCHO PALOS VERDES CA 90275-4554                FIN ENF. SEC., PA OFF. ATT. GEN.
DEHAAN & BACH, LPA                                                                             STRAWBERRY SQUARE, 15TH FLOOR
25 WHITNEY DRIVE, SUITE 106                                                                    HARRISBURG PA 17120-0001
MILFORD, OHIO 45150-8400
JONES DAY                                     PALAMERICAN SECURITY, INC.                       PENN MED LLC
C/O CHRIS ANDERSON                            11300 4TH ST. N #150                             C/O JEFFERY P. MEYERS
77 WEST WACKER DRIVE                          ST. PETERSBURG, FL 33716-2940                    MYERS LAW GROUP LLC
CHICAGO IL 60601-1692                                                                          17025 PERRY HIGHWAY
                                                                                               WARRENDALE PA 15086-7547

SMART BUSINESS                                THE THIRD FRIDAY TOTAL RETURN FUND, L.P.         U.S. Trustee
561 NORTHEST 79TH STREET                      C/O MICHAEL E. LEWITT                            100 E Vine St #500
MIAMI FL 33138                                85 N. CONGRESS AVENUE                            Lexington, KY 40507-1441
                                              DELRAY BEACH FL 33445-3424


Carol L. Fox                                  Suzanne Koenig                                   End of Label Matrix
200 East Broward Blvd #1010                   SAK Management Services, LLC                     Mailable recipients    25
Fort Lauderdale, FL 33301-1943                300 Saunders Rd                                  Bypassed recipients     0
                                              Suite 300                                        Total                  25
                                              Riverwoods, IL 60015-5708
                 Case 19-61608-grs         Doc 295-1     Filed 02/28/20         Entered 02/28/20 12:31:53         Desc
Label Matrix for local noticing               Ellwood Medical
                        All Debtors Creditor Matrixes    and Center  Real Estate,
                                                               the Master         LLC Matrix Internal
                                                                              Mailing         Page 26 Revenue Service
                                                                                                           of 29
0643-6                                        724 Pershing Street                            P.O. Box 7346
Case 19-61614-grs                             Ellwood City, PA 16117-1474                    Philadelphia, PA 19101-7346
Eastern District of Kentucky
London
Fri Feb 28 10:07:09 EST 2020
Securities and Exchange Commn.                The Borough of Ellwood City, Pennsylvania      London Office
Bankruptcy Section                            423 6th Street                                 US Bankruptcy Court
175 W. Jackson Blvd.                          Ellwood, PA 16117-2055                         PO Box 1111
Suite 900                                                                                    Lexington, KY 40588-1111
Chicago, IL 60604-2815

BQR CAPITAL, LLC                               CAROL E. MOMJIAN                                GRANT R. WHITE
C/O PELORUS EQUITY GROUP, INC.                 SENIOR DEPUTY ATTORNEY GENERAL-IN-CHARGE        6857 CREST ROAD
124 TUSTIN AVENUE, SUITE 200                   FIN. ENFORCEMENT SEC., PA OFF. ATT. GEN.        RANCHO PALOS VERDES CA 90275-4554
NEWPORT BEACH CA 92663-4782                    1600 ARCH STREET, SUITE 300
                                               PHILADELPHIA PA 19103-2016

JASON L. SWARTLEY                              LESRIG HOLDINGS, LLC                            LEYDA BEQUER, TRUSTEE OF BEQUER TRUST
CHIEF DEPUTY ATTORNEY GENERAL                  23461 S. POINTE DRIVE                           23461 S. POINTE DRIVE, SUITE 215
FIN ENF. SEC., PA OFF. ATT. GEN.               LAGUNA HILLS CA 92653-1547                      LAGUNA HILLS CA 92653-1523
STRAWBERRY SQUARE, 15TH FLOOR
HARRISBURG PA 17120-0001

PELORUS FUND, LLC                              PENN MED LLC                                    THE BOROUGH OF ELLWOOD CITY, PENNSYLVANIA
C/O PELORUS EQUITY GROUP, INC.                 C/O JEFFERY P. MEYERS                           C/O R. AARON HOSTETTLER, ESQ.
124 TUSTIN AVENUE, SUITE 200                   MYERS LAW GROUP LLC                             120 N. MAIN ST.
NEWPORT BEACH CA 92663-4782                    17025 PERRY HIGHWAY                             LONDON, KY 40741-1369
                                               WARRENDALE PA 15086-7547

THE THIRD FRIDAY TOTAL RETURN FUND, L.P.       U.S. Trustee                                    Carol L. Fox
C/O MICHAEL E. LEWITT                          100 E Vine St #500                              200 East Broward Blvd #1010
85 N. CONGRESS AVENUE                          Lexington, KY 40507-1441                        Fort Lauderdale, FL 33301-1943
DELRAY BEACH FL 33445-3424


Suzanne Koenig                                 End of Label Matrix
SAK Management Services, LLC                   Mailable recipients    18
300 Saunders Rd                                Bypassed recipients     0
Suite 300                                      Total                  18
Riverwoods, IL 60015-5708
                 Case 19-61608-grs         Doc 295-1     Filed 02/28/20            Entered 02/28/20 12:31:53       Desc
Label Matrix for local noticing               Ellwood Medical
                        All Debtors Creditor Matrixes    and Center  Operations,
                                                               the Master        LLC
                                                                              Mailing Matrix Internal
                                                                                              Page 27 Revenue Service
                                                                                                           of 29
0643-6                                        724 Pershing Street                            P.O. Box 7346
Case 19-61615-grs                             Ellwood City, PA 16117-1474                    Philadelphia, PA 19101-7346
Eastern District of Kentucky
London
Fri Feb 28 10:07:33 EST 2020
Securities and Exchange Commn.                London Office                                  ACCESS
Bankruptcy Section                            US Bankruptcy Court                            P.O BOX 310416
175 W. Jackson Blvd.                          PO Box 1111                                    DES MOINES IA 50331-0416
Suite 900                                     Lexington, KY 40588-1111
Chicago, IL 60604-2815

ACCESS INFO HOLDING, LLC                       AHN EMERGENCY GROUP OF ELLWOOD, LTD.             ARGUS CAPITAL FUNDING LLC
P.O. BOX 310416                                C/O KEVIN ALLEN, MICHAEL PEST                    THOMSON OLLUNGA LLP
DES MOINES IA 50331-0416                       EXKERT SEANMANS CHERIN & MELLOTT, LLC            747 THIRD AVE 2ND FL
                                               600 GRANT STREET, 44TH FLOOR                     NEW YORK NY 10017-2878
                                               PITTSBURGH PA 15219-2713

BARD, C.R. INC                                 BARD, C.R. INC.                                  BECKMAN
C/O NAPOLEON RAMOS                             C/O NAPLOLEON RAMOS                              C/ORAYMOND WENDOLOWSKI,BERNSTEIN BURKLEY
P.O. BOX 75767                                 P.O. BOX 75767                                   707 GRANT ST.
CHARLOTTE NC 28275-0767                        CHARLOTTE NC 28275-0767                          SUITE 2200, GULF TOWER
                                                                                                PITTSBURGH PA 15219-1908

BECKMAN                                        BECKMAN COULTER INC.                             CAROL E. MOMJIAN
C/ORAYMONDWENDOLOWSKI,BERNSTEIN BURKLEY        250 S. KRAEMER BLVD - B1.NE.02                   SENIOR DEPUTY ATTORNEY GENERAL-IN-CHARGE
707 GRANT ST.                                  BREA, CA 92821-6232                              FIN. ENFORCEMENT SEC., PA OFF. ATT. GEN.
SUITE 2200, GULF TOWER                                                                          1600 ARCH STREET, SUITE 300
PITTSBURGH PA 15219-1908                                                                        PHILADELPHIA PA 19103-2016

COMMONWEALTH OF PENNSYLVANIA                   CORPORATION SERVICES COMPANY                     CT CORPORATION SYSTEMS
C/O NANCY A. WALKER                            P.O. BOX 2576                                    ATTN: SPRS
CHIEF DEPUTY ATTORNEY GENERAL                  SPRINGFIELD IL 62708-2576                        330 N. BRAND BLVD., SUITE 700
1600 ARCH STREET, SUITE 300                                                                     GLENDALE CA 91203-2336
PHILADELPHIA PA 19103-2016

DAVIDOFF LAW FIRM                              DAVIDOFF LAW FIRM                                DINAKAR GOLLA
C/ORAYMOND WENDOLOWSKI,BERNSTEIN BURKLEY       C/ORAYMOND WENDOLOWSKI,BERNSTEIN BURKLEY         C/O AVRUM LEVICOFF,THE LEVICOFF LAW FIRM
707 GRANT ST.                                  707 GRANT ST.                                    4 PPG PL.
SUITE 2200, GULF TOWER                         SUITE 2200, GULT TOWER                           SUITE 200
PITTSBURGH PA 15219-1908                       PITTSBURGH PA 15219-1908                         PITTSBURGH PA 15222-5444

ELLWOOD MEDIACL CENTER OPERSTIONS, LLC         GRANT R. WHITE                                   HEALTHLAND CPSI
1060 ANDREW DRIVE SUITE 170                    6857 CREST ROAD                                  C/O TROY DOLLY
WEST CHESTER, PA 19380-5601                    RANCHO PALOS VERDES CA 90275-4554                6600 WALL STREET
                                                                                                MOBILE AL 36695-4512


HORIZON MENTAL HEALTH                          HORIZON MENTAL HEALTH                            IDEAL INTEGRATIONS
C/O MICHAEL W. WINFIELD, POST & SCHELL         C/O MICHAEL W. WINFIELD, POST & SCHELL           C/O JODI MILLER
17 NORTH SECOND STREET                         17 NORTH SECOND STREET                           800 REGIS AVENUE
12TH FLOOR                                     12TH FLOOR                                       PITTSBURGH PA 15236-1435
HARRISBURG PA 17101-1638                       HARRISBURG PA 17107-0001

INTERIOR SUPPLY                                JASON L. SWARTLEY                                LABORATORY CORPORATION
C/ONICHOLAS D. KRAWEC, BERNSTEIN BURKLEY       CHIEF DEPUTY ATTORNEY GENERAL                    C/ORICHARD JOHNSON,JOHNSON LEGAL NETWORK
707 GRANT ST.                                  FIN ENF. SEC., PA OFF. ATT. GEN.                 535 WELLINGTON WAY # 380
SUITE 2200, GULF TOWER                         STRAWBERRY SQUARE, 15TH FLOOR                    LEXINGTON KY 40503-1389
PITTSBURGH PA 15219-1908                       HARRISBURG PA 17120-0001
                 Case 19-61608-grs             Doc 295-1 Filed 02/28/20 Entered 02/28/20 12:31:53 Desc
LABORATORY CORPORATION All Debtors Creditor        MCKESSON and the Master Mailing Matrix MEDLINE
                                                  Matrixes                                 PageINDUSTRIES
                                                                                                  28 of 29
C/ORICHARD JOHNSON,JOHNSON LEGAL NETWORK             C/O STEVEN KOPLOVE, KRAFT & KRAFT                    C/O MICHAEL S. BAIM, THE CKB FIRM
535 WILLINGTON WAY # 380                             3200 PENROSE FERRY ROAD                              30 N. LASALLE ST.
LEXINGTON KY 40503                                   PHILADELPHIA PA 19145-5500                           SUITE 1520
                                                                                                          CHICAGO IL 60602-3387

MERRY X-RAY CORPORATION                              NUANCE COMMUNICATIONS                                OFFICE DEPOT
C/O MICHAEL SOMRAK                                   C/O LILLIAN DIMITROVSKI                              6600 N MILITARY TRAIL
4909 MURPHY CONYON RD.                               P.O. BOX 2561                                        BANKRUPTCY PROCESSING
SUITE 120                                            CAROL STREAM IL 60132-2561                           BOCA RATON, FL 33496-2434
SAN DIEGO CA 92123-4300

OFFICE OF UNEMPLOYMENT COMPENSATION TAX SERV         PALAMERICAN SECURITY                                 PHILIPS HEALTHCARE
DEPARTMENT OF LABOR AND INDUSTRY                     C/O ROGER REES                                       C/O ROBERT KENNEDY
COMMONWEALTH OF PENNSYLVANIA                         8TH AVENUE NORTH                                     P.O. BOX 403831
COLLECTIONS SUPPORT UNIT                             SUITE 203                                            ATLANTA GA 30384-3831
651 BOAS STREET ROOM 925                             SAINT PETERSBURG FL 33701
HARRISBURG PA 17121-0751
SMA MEDICAL, INC.                                    SMA MEDICAL, INC.                                    SMART BUSINESS
C/O GENE MARKIN, STARK & STARK                       C/O STARK & STARK                                    561 NORTHEST 79TH STREET
993 LENOX DR.                                        ATT J. LEMKIN                                        MIAMI FL 33138
BUILDING 2                                           PO BOX 5315
LAWRENCE TOWNSHIP NJ 08648-2316                      PRINCETON, NJ 08543-5315

THE THIRD FRIDAY TOTAL RETURN FUND, L.P.             U.S. Trustee                                         UNITEDHEALTHCARE INSURANCE COMPANY
C/O MICHAEL E. LEWITT                                100 E Vine St #500                                   ATTN: CDM/BANKRUPTCY
85 N. CONGRESS AVENUE                                Lexington, KY 40507-1441                             185 ASYLUM STREET - 03B
DELRAY BEACH FL 33445-3424                                                                                HARTFORD, CT 06103-3408


(p)UTICA LEASECO LLC                                 WELLS FARGO EQUIPMENT FINANCE                        WESTERN HEALTHCARE
905 SOUTH BLVD EAST                                  800 WALNUT STREET MAC F0005-055                      C/O JACOB NORVELL
ROCHESTER HILLS MI 48307-5358                        DES MOINES, IA 50309-3891                            13155 NOEL RD.
                                                                                                          SUITE 200
                                                                                                          DALLAS TX 75240-5021

Carol L. Fox                                         Suzanne Koenig
200 East Broward Blvd #1010                          SAK Management Services, LLC
Fort Lauderdale, FL 33301-1943                       300 Saunders Rd
                                                     Suite 300
                                                     Riverwoods, IL 60015-5708



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


UTICA LEASECO, LLC
905 SOUTH BOULEVARD EAST
ROCHESTER MI 48307




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                 Case 19-61608-grs        Doc 295-1      Filed 02/28/20       Entered 02/28/20 12:31:53           Desc
(u)Office of UnemploymentAll
                          Compensation
                             DebtorsTax  Se
                                       Creditor  (u)HEALTHLAND
                                                Matrixes    and CPSIthe Master Mailing Matrix (u)IDEAL
                                                                                               Page 29 INTEGRATIONS
                                                                                                           of 29
                                                 C/O TROY DOLLY                               C/O JODI MILLER




(u)MERRY X-RAY                                 (u)NUANCE COMMUNICATIONS                        (d)PALAMERICAN SECURITY, INC.
C/O MICHAEL SOMRAK                             C/O LILLIAN DIMITROVSKI                         C/O ROGER REES
                                                                                               8TH AVENUE NORTH
                                                                                               SUITE 203
                                                                                               SAINT PETERSBURG FL 33701

End of Label Matrix
Mailable recipients   49
Bypassed recipients    6
Total                 55
